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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )   CIVIL ACT. NO. 2:19-mc-3876-ECM
                                           )
LOUISIANA BISTREAUX,                       )
                                           )
       Garnishee                           )
                                           )
DERRIS DEANTHONY BRADFORD,                 )
                                           )
       Defendant.                          )

                                      ORDER

       Upon consideration of the motion to dismiss (doc. 5) filed on August 7, 2019, and

for good cause, it is

       ORDERED that the motion to dismiss (doc. 5) is GRANTED and the Writ of

Garnishment is DISMISSED.

       The Clerk of the Court is DIRECTED to close this matter.

       DONE this 14th day of August, 2019.



                                         /s/ Emily C. Marks
                                  EMILY C. MARKS
                                  CHIEF UNITED STATES DISTRICT JUDGE
